
*1260OPINION.
TRAMmell:
Under the stipulated facts the statute of limitations had barred the collection of the taxes in controversy from the trans-feror prior to the mailing of the notice under section 280 of the liability at law or in equity of the petitioner transferee. The collection of the liability of the transferor was barred prior to the passage of the Revenue Act of 1926. We have heretofore held that, where the liability against a transferor is barred by the statute of limitations prior to the passage of the Revenue Act of 1926, section 280 (b) (2) of that Act does not operate to revive the remedy against the transferee. Caroline J. Shaw, 21 B. T. A. 400; E. N. and O. M. Ennis, 21 B. T. A. 406. We therefore hold that the statute of limitations now bars the assessment and collection of any liability against the petitioner as transferee.

Judgment will be entered for the petitioner.

